Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 Desc: l\/lain Document Page 1 of 45

 

Fil| in this information to identify your case:

 

penton Steven Cavanaugh
FirSl Name MiddlB Name LBS1 Nal'l'l&

Debtor 2

(.':`lpous¢s4 if filing) Flrst Naml Middle Name Lasl blame

 

Uniled States Bankruptcy Courl forthe: District Of New Hampshire
case number 17-‘| 0334-BAH

(|f known)

 

 

Officia| Form 107

l:l Check if this is an
amended filing

Statement of Financial Affairs for individuals Filing for Bankruptcy 04116

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number {if known). Answer every question

m Give Details About Your lll'|arital Status and Where You Lived Before

1. What is your current marital status?

m N|arried
|;l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
|;l No
§ Yes. List all of the piaoes you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor 2:
lived there

m Same as Debtor 1
65 Nlain Street

 

Dates Debtor 2
lived there

n Same as Debtor ‘l

From

 

 

To

 

 

 

 

State ZlP Code
n Same as Debtor 1

From

 

 

To

 

 

 

From

Number Street Number Street
To

Candia NH 03034

City State ZlPCode City

l;l Same as Debtori

From

Number Street Number Street
To

city State ziP Code City

State ZlP Code

3. \Mthin the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communily property
states and territories include Arizona, Califorhia. idahol Louisiana, Nevada, New Nlexico, Puerto Rico. Texas, Washingtcinl and Wisconsin.)

\:lNo

n Ves. Nlake sure you lfill out Sched'ule H: Your Codebtors (Ofticial Form 106H).

W Explain the Sources of Your lncome

Ochial Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 1

Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 Desc: l\/lain Document

Steven

FirS! Name

Debtor 1
Miduie Name

Cavanaugh

Lasl Name

Page 2 of 45

Case number (ii'knavm) 17'10334"BAH

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fil| in the total amount of income you received from all jobs and all businesses inciuding part-time activities
|f you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

El No
M Yes. Fiii in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31, j
ww

For the calendar year before that:

(January 1 to December 31 , 2014 )
YYYY

Sources of income
Check all that app|y.

w Wages, oommissions,
bonuses. tips

Gross income

(before deductions and
exclusions)

$ 16,190.00 n

l:l Operatinga business

g Wages, commissionsl
bonuses, tips

m Operating a business

\;l Wages. commissions
bonuses. tips

m Operatinga business

3 16,200.00

Sources of income
Cheok atl that apply.

Wages. commissions
bonuses. tips

cl Operating a business

m Wages, commissionsl
bonuses, tips

cl Operatinga business

$ 6,840.00

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable Examples of other income are alimony; child support; Social Security,
unemployment and other public benth payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. |f you are filing a joint case and you have income that you received together. list it only once under Debtor 1.

\;l Wages. commissions.
bonuses. tips

Operating a business

List each source and the gross income from each source separately Do not include income that you listed in line 4.

|;l No
El Yes_ i=iii in the details

 

Gross income

(before deductions and
exclusions)

 

Sources of income

. Leoial__
From January 1 of current year until

the date you filed for bankruptcy:

For last calendar year:

 

 

(January 1 to December 31, )
ww

 

For the calendar year before that:

 

 

(January 1 to December 31,2014
YYYY

 

Gross income from Sources of income
oescribe beiow. each S°""=e oesciibe below.
(before deductions and
exclusions)
$
gambling $ 1,000.00

Of|'icia| Form 107

 

Statement of Financia| Affairs for individuals Filing for Bankruptcy

Gross lncome from
each source

(befcre deductions and
exclusions)

2,800.00

 

page 2

Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 Desc: l\/lain Document Page 3 of 45

never 1 Steven Cavanaugh ease number (,,,mm, 17-10334-BA|-|

Fils\ Narne Midd|e Name L,asl Narne

 

m List Certain Payments ‘{ou liilade Before You Filed for Bankrup'tcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
l;l No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (B) as
“incurred by an individual primarin for a personal, family, or household purpose."
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $5.425* or more?

Cl No. soto line 7.

El Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as
child support and alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment ori 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Ei No. soto line 7.

\:l ¥es. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

Dates of Tot.al amount paid Amount you stii| owe Was this payment for...
payment
zant ' 03101/2017 3 2,100.00 $ 0.00 n Mongage
rediiors Narne
|;l c
02/01/2017 ar
Number Street n Creditcard
12 couriiand Avenue 01/01/2017 n ivan repaymeii=
[__.l Su liers or end
Litchneid NH pp tv °'5
city stats ziP code w OmEFL

$ $ n Mortgage
Cl Car

i;l crediicard

 

 

Creditor's Name

 

Number Street

n Loan repayment

 

n Suppliers or vendors

 

 

 

 

 

 

Ciiy Siaie ZlP Code a Other
- $ $ Ei iviorigage
Creditor's Name
m Car
Number Street n gram gard
Cl Loan repayment
\;l Suppliers or vendors
C`rly state ziP code n Other

 

Oft'icia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

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oebior 1 Ste\i'en Cavanaugh ease number mmm) 17_10334_BAH

F'rst Name Midd|e Name Last Narne

 

ifv Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ofncer, director, person in controll or owner of 20% or more of their voting securities; and any managing

agent. including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

MNO

Cl Yes. List ali payments to an insider.

 

 

 

 

 

 

Dates of Tota| amount Amount you still Reason for this payment
payment paid owe
$ $
lnsider’s Name
Number Street
City State ZlP Code
$ $

 

 

insiders Narne

 

Number Street

 

 

Ciiy State ZlP Code

 

 

8. thhin 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNO

n Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid owe z include creditors name

 

insider's Name $ $

 

Number Street

 

 

Ciiy State Z|F' Code

 

 

lnsider's Name

 

Number Street

 

 

 

C“i' . . . Siaie .Z.'F'.(.`»°d.° ....................

thcia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

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DethH Steven Cavanaugh CaSe number iirknown) 17“10334'BAH

Firsl Name Midd|e Name Last Name

 

 

m ldentify Lega| Actions, Repossessions, and Foreclosures

9. Vlnthirl 1 year before you filed for bankruptcy, were you a party in any lawsuitl court action, or administrative proceeding?
List all such matters, including personal injury casesl small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes.

MNO

El Yes. Fill in the ¢.-leiailel

r

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title own Name a Pending
m On appeal
Number Street n Concluoed
Case number
:City Stato ZlP Code
case title §ceurt Name Ci Pending
n On appeal
Number Street n COrlC|uded
Case number
City Stete ZlP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ali that apply and fill in the details beiow.

d No. Go to line 11.
cl Yes. Fi|l in the information beiow.

Describe the property Date Vaiue of the property

 

 

Creditor's Name

 

 

Number street Explain what happened

|;l Property was repossessed

i:l Property was foreclosed

CI Property was garnished

city state zip code |;l Property was attached seized. or levied

 

 

Describe the property Dato Value of the property

 

Creditor’s Name

 

 

Number SirEiBi w w 7 n
Explain what happened
Property was repossessed

Property was foreclosed
Property was garnished

 

 

City State ZlP Code

E|UUU

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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oebtor 1 Steven Cavanaugh case number irwin 17'10334'BAH

Flrst Name M`lddle Name Lasl Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

Cl Yes. Fill in the details

Describe the action the creditor took Date action Amount
was taken

 

 

 

Credi`tor‘s Name

 

Number Street

 

 

 

 

City 3wa ZlP Code Last 4 digits of account number: XXXX-_

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiverl a custodian, or another ofticial?

m No
|;I Yes

mist Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

ENO

El Yes. Fi|i in the details for each gift_

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
. $____
Person to Whom You Geve the Grft
$
Number Street
City Slaie ZlP Code
Person’s relationship to you
Gifts with a totat vetue of more than $600 Descrihe the gifts Dates you gave Vatue
per person _____ ___ __ the gifts
_ $
Person to Whom You Gave the Glft
$

 

 

 

Number Street

 

Cliy State ZlF Code

Person‘s relationship to you

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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Debcor 1 Steven Cavanaugh case number mmi 17-10334-BAH

Firsl Name Middle Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $6[|0 to any charity?

MNO

[.:l Yes. Fi|| in the details for each gift or contribution

 

 

 

 

Gifts or contributions to charities Describe what you contributed Date you Valua
that total more than $600 contributed
; ' $
Charity's Name
$

 

Number Street

 

Cily State Z|F' Code

must Certain Losses

» 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

MNo

\;l Yes. Fill in the details

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred _ . . . . loss lost
include the amount mat insurance has paid. List pending insurance
claims on line 33 of Schedi.rle A/B: Property.
$

 

 

List Certain Payments or Transfers

 

 

 

 

 

 

 

 

 

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone

you consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

n No

El Yes. Fill in the details

_ _ Descn'ption and value of any property transferred hate payment or Amount of payment
Kevin Chisho|m cranererwas
PersonWhoWasPaid , , ,,,,, made
195 E|m Street $ 1000 fOl' legal fee. §
Number Street : 01/20/2017 $ 1,000.00
$
Manchester NH 03101
City Stata ZlF Cocle
attychisho|m@gmai|.com
Emai| or website address
Person Who Made the Payn'ierit, if Not You
Ofticial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

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oebtor 1 Steven Cavanaugh ease number umwa 17-10334_BAH
Filsl Name Middle Name Last Name

 

 

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Emai| cr website address

 

Person Who Made the Pa.ymentl if Not You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

|Zl Yes. Fiii in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid '
Number Street $
$

 

 

City State ZlF‘ Code

 

 

18. \Mthin 2 years before you filed for bankruptcy, did you selll trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

n No
id vee_ i=iii in the detailsl

 

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
_ transferred or debts paid in exchange was made
Dennis Parker et al .l _ _
P°“`"°"“"‘° Re°i“'e° T'a"ifer 269 Harrision Street Home and lots in Manchester 1
269 Harrison Street Manchester, NH § 3 09/12/2016
"'“'"°e’ S"e"‘ § $ 265,000.00 used to pay off
l mortgage, etc. Balance of

Manchesier NH 03103 approximately $ 30,000 spent On .
city stale zip code household goods and living expens§

 

Person's relationship to younone

 

 

Persorl Who Reoeived Transfer

 

Number Street

 

 

City Slale ZlP Code

 

Person's relationship to you

Offlcia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

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Debtdr 1 Stevel'i Cavanaugh ease number mm 17_10334_BAH

First Name Midl‘.i|e Name Last Name

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled tmst or similar device of which you
are a beneficiary? (These are otten calied asset-protection devices.)

ENo

Cl ves. Fiii in the deteiis.

Description and value of the property transferred Date transfer
_ was made

 

Name of trust

___

 

 

List Certaln Financial Accoun'ts, lnstruments, Safo Dopoel't Boxu, and Stor¢ge l.lnlts

20. Viftthin 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or tiansferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unionsl
brokerage houses, pension funds. cooperatives, associations, and other financial institutions

MNo

El Yes. Fiii in the detaiie.

 

 

Last 4 digits of account number Wpe of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution __ _ _ _ n checking s
Number slreet cl Savings

n Money market

 

n Brokerage

 

City State le=l Code

XXXX-_ m Checking $

 

 

Name of Financial institution
n Savings

 

Number street n Money market
n Brokeiage
n Other

 

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

n No
El Yes. Fiii in the derails.

 

 

 

Who else had access to it? Descrlbe the contents Do you still
__ have lt?
Name of Financial institution Name n Yes

 

 

Number S|fee’l Number Street

 

 

city state ziP code

 

 

City Stale ZlP Code

 

Offlcia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

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center 1 Steven Cavanaugh ease number umw 17-10334_BAH

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your horne within 1 year before you filed for bankruptcy?
No
El ves. i=iii in the detaiis.

 

 

Who else has or had access to it? Describe the contents Do you still
_____ have it?
; _ cl NO
Name of Storage Faci|ity Name n Yes
Number Street Number Street

 

City Stata ZlP Code

 

City stare ziP code __ _

mldentlfy Property You l'lold or Control ll'crr Bomoone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed froml are storing for,
or hold in trust for someone.
No
El Yes. Fill in the detaiie.

 

Where is the property? Describe the property Value

 

Dwrler’s Name $

 

 

Number Street

 

 

 

City State ZlF Coda

 

city state zip code

m lee Detalls Ahout Environmental lnl'ormatlon

 

 

 

For the purpose of Part 10, the following definitions apply:

li Enviironmenfal law means any federall state, or local statute or regulation concerning poiiution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

il Si'te means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to ownl operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, poliutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or iri violation of an environmental iaw?

mNo

Cl Yes. Fiii in the detaiie.

 

 

 

 

 

Govemmentai unit Environmental law, if you know it Date of notice
Name of site Govemmenta| unit
Number Street Number Street
City Stata ZlP Code

 

 

City State ZlP Code

Offlcia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

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canton Steven Cavanaugh ease number umw 17-10334_BAH

Ftrsl Name Mido|e Name Last Name

 

 

25. Have you notified any govemmenta| unit of any release of hazardous material?

MNo

Ei Yes. Fill in the detailsl

 

 

 

 

 

 

 

Govemmental unit Environmental lavv, if you know it Date of notice
Name of site Governmeniai unit
Number Street Number Street

City State ZlP Coda

 

City State ZlP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

mNo

|:l ves. Fill in the details

 

 

 

 

 

 

Court or agency Nature of the case :;as;us of the
Case title
Court Name n Pendmg
n On appeal
Number Street n Concludecl
ease number city state zip code

minn Dotails About ¥our Buslnm or tennectlons to Any Buslnm

21. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
l:l A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company lLLC) or limited liability partnership (LLP‘,\
Cl A partner in a partnership
cl An officer, director, or managing executive cfa corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

q No. None of the above applies. Go to Part 12.
a Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Empioyer identification number
Do not include Sociai Security number or l'l'iN.

 

BusineBsName rm. . . .N.…. ......_. _ . .. ,,,.x

 

Number Street in _ t lt.t...§
Name of accountant or bookkeeper Dates business existed

 

 

F rom To

 

City Stale ZlP peden _§ t

Describe the nature of the business

 

Do not include Soclai Securlty number or lTlN.

 

Business Name w .. t §

EIN: -

 

N*""° °f a°°°““'¢“"f °" bookkeeper estes business existed

 

 

From To

 

 

City Stafe ZlP Code

 

Ofl'tcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

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canton Steven Cavanaugh ease number rrrmumr 17_10334-BAH

Filsl Name Midl!|e Name Last Name

 

 

Emptoyer ldentificatlon number
Do not include Soclal Securlty number or lTlN.

Descrtbe the nature of the business

 

 

Business Name

 

N"'“b°" S'"°' Name of accountant or bookkeeper Dafe$ business existed

 

 

From To

 

City State ZlP Code

 

 

 

23. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

UNo

El Yes. Fill in the details below.

Date issued

 

Name MM l on l YYYv

 

Number Street

 

 

City State ZlF Code

 

l have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

x/sl Steven Cavanaugh x
Signature of Debtor 1 Signature of Debtor 2
pate 03/15/2017 gate
Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (thcia| Form 107)?
M No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you till out bankruptcy forms?
g No

n Yes. Name of person . Attach the Bankruptcy Petl'tion Prepaner’s Noti'oe,
Deciarell'on, and Signature (Olhcia| Form 119).

 

 

Otflcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 DeSC: l\/lain Document Page 13 of 45

Fill in this information to identify your case and this filing:

Dbbmrr Steven Cavanaugh

Firsi Name Middie Name Last Name

 

Debtor 2
(Spouse_ ii filing) FirstName Middie Name Last Name

 

United States Bankruptcy Court for the: District of New Hampshire
17-10334-BAH

Case number

 

El cheek lithls is an
amended filing

 

 

Officia| Form 106A/B
Schedule AIB: Property lens

ln each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct infon'nation. if more space is needed, attach a separate sheet to this forrn. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

m Describe Each Residence, Buiiding, Land, or Other Real Estate You Ovvn or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, landl or similar property?

E No. Go to Part 2.
Cl Yes. Where is the property?
What ls the property? Check an that apply Do not deduct secured claims or exemptions Put

El Single-family home the amount of any secured claims on Schedule D:

1 _1_ Credr'rars Who Have Clal'ms Secured by .\=’rotl:ertyl

 

Cloi rml'-nl 'i'
Sireetaddress,ifavailable,orotherdescription upexo ut|u ibmde

 

 

 

ij Condominium Or COOP€FSiiVS Current value of the Current value of the
El Manufactured or mobile home entire property? portion you own?
L._.l l_and $ $
El investment property
b n Trmesnare Describe the nature of your ownership
C\fY 3wa ZlP Code cl Other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

n Debtor 1 only

County n Debtor 2 only

Cl Debtor 1 and Debtorz only n Che¢§k ifthi_$ is °°"'m““it¥ Property
(see mstructlons)

 

 

a At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than onel list here:

what 15 the property? Check all that apply' Do not deduct secured claims or exemptions Put
cl Single-fami|y home the amount cf any secured claims on Schedule D:

 

 

 

 

 

1.2. ._ . . . Credl`iors Who Have Ciaims Secured' by Properry.
Street address if available or other description g Duplex cir _mum umt bu"d"jg --- - - - - - -- --- - t
COHdOmlf\lum OF COOD€FafWF-‘ Current value of the Current value of the
U Manufaeturetl or mobile home entire property? portion you own?
i;l Land $ $
El investment property
_ n Trmeshare Describe the nature of your ownership
City State ZlP Code n interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
m Debtorl only

 

 

County cl Debtor 2 only
CI Debtori and Debtor 2 only g Check if this is community property
a At least one of the debtors and another (See instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Oflicia| Form 106A/B Schedule AIB: Property page 1

Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 Desc: l\/|ain Document

 

 

 

 

 

 

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Debtor 1 Steven Cavanaugh Case number urme 17-10334-BAH
FlVSl NBmE MiddlB NBl'ne LES[ NB|'HB
What is the PFOPe'W? Ch€¢k all that EPD|Y- Do not deduct secured claims or exemptions Put
- _ - h the amount of any secured claims on Schedule D.'
1.3. n Smgre lam'|y _omr_"` _ _ Credr'tars Who Have Cl'a.ims Secured by Property
Street addressl if available or other description i;l Duplex or multl-unlt building -----------------------
n Condominium or cooperative Current value of the Current value of the
a Manufactured or mobile home entire property? portion you own?
n Land $ $
n investment property
City mate ZlP Code cl Timeshare Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
m Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
cl Debtori only
County n Debtor2 only
n Debtori and Debtor 2 only n Chec_k if thi_S is C°mmunit¥ P"°Pe"t¥
Cl At least one of the debtors and another (see mstruct'ons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ ()_0()
you have attached for Part 1. Write that number here. ...................................................................................... ')

m Descrihe ¥our Vehir:les

 

 

 

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicie, also report itoh Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

|;l No
g Yes
3-1‘ Make._ NiSSan
Model: pick up
Year: 1997
173000

Approximate mileage:

Other infonnation:

 

 

 

 

if you own or have more than one, describe here:

3_2_ Make!
Modei:
Year:
Approximate mileage:

Other information:

 

 

 

Ofi'lciai Form 106A!B

Who has an interest in the property? Cneck one.

m Debtor 1 only

n Debtor 2 only

m Debtor 'l and Debtor2 only

m At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

m Debtor 1 only

El Debtor 2 only

cl Debtor 1 and Debtor 2 only

El At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Schedule Al'B: Property

Current value of the

Current value of the

Do not deduct secured claims or exemptions Put
the amount cf any secured claims on Schedule D.

Credi!ors Who Have Ciaims Secured by Property

Current value of the

entire property? portion you own?

3 600.00 $ 600.00

 

DO. not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:

Credr'tors Wlio Have Ciaims Secured by Property.

Current value of the

entire property? portion you own?

page 2

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Who has an interest in the property? Check one.

n Debtor 1 and Debtor2 only
El At least one of the debtors and another

n Check if this is community property (see

Who has an interest in the property? Check one.

Debtor 1 Steven Cavanaugh
Fir$t Name Midcile Name Last Name
3_3_ Make:
Model: m Debtor 1 only
n Debtor 2 only
Year:
Approxlmate mileage:
Other infon'nation:
instructions)
3,4, Make:
Mode|: n Debtor 1 only
n Debtor 2 only
¥ear:

Approximate mileage:

Other infonnation:

 

 

 

 

n Debtor1 and Debtor2 only
\;l At least one of the debtors and another

m Check if this is community property (see
instructions)

 

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Case number miami 17"103"34"5/5\i'i

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clar'ms Secuned by Property.

Current value of the Current value of the 5
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.
Credftors Who Have Ciar'ms Secured by Property

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraf't, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exampies.' Boats, trailers, motors, personal watercraft, fishing vesseis, snowmobiles, motorcycle accessories

n No
n ¥es

4_1_ Ma|<e:
lVlodei:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

iVlake:
Mode|:

Year:

4.2.

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Ofticial Form 106A/B

Who has an interest in the property? Check one.
m Debtor 1 only

cl Debtor 2 only

n Debtori and Debtor2 only

i;\ At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
|:l Debtor 1 only

cl Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

|;l Check if this is community property (see
instn.lct`lons)

Schedule AIB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Clar`ms Secured by Property.

Current value of the Current value of the ;
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:

Credr'tors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

$ 600.00

 

 

 

page 3

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Deb,o, 1 Steven Cavanaugh

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Case number tamm 17'10334'BAH

 

 

Fii'S\ Name Middie Name Last Name

 

Descrlbe Your Fersonal and Household items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliancesl furniture, |inens, china, kitchenware

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n NQ ,_..… :
m YeS- D€SCrib€ --------- §Stove, refrigerator. washer dryer, microwave, kitchen accessories furniture etc. $ 2,400-00
7. E|ectronics
Examples: Te|evisions and radios; audio, video, stereo, and digital equipment computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
El No
m Yes. Describe .......... televisionl Computei’ $ 300.00 _
. B. Collectib|es of value
Exampies: Antiques and flgurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card coilections; other coilections, memorabiiia, collectib|es
m No
|;l ¥es. Describe .......... $
9. Equipment for sports and hobbies
' Examples.' Sports, photographic exercise, and other hobby equipment; bicycles. pool tables, golf clubs, skis; canoes
and kayaks; carpentry toois; musical instruments
m No
n Yes. Describe.......... $
10. Firearrns
Exampl'es: Pistols, riflesl shotguns, ammunition, and related equipment
m No
n Yes. Describe .......... $
11.Clothes
Examples: Everyday clothesl furs, leather coats, designer wearl shoes. accessories
n No
E Yes. Descrlbe .......... C|othing 3 100.00
§ 12.Jewelry
Examp|es: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
go|d, silver
Cl No

 

El Yes. Describe........._

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

mNo

 

Cl Yes. Describe..........§

l
14.Any other personal and household items you did not already iist, including any health aids you did not list

mNo

 

 

n Yes. Give specific §

information

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

 

Ofticia| Form 106AIB Schedule AIB: Property

 

$ 2 800.00

 

 

page 4

 

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Debtor 1 Steven Cavanaugh Case number (iikmwn) 17"10334'BAH
l'-'trst Name Middle Name Last Name
m Describe ¥our Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current Vaiue of the
portion you own?
Do not deduct secured claims
or exemptions

16. Cash

Examples.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

DNo

E Yes Cash: $ 40,00

17. Deposits of money

Exampies: Checi<ingl savings, or other financial accounts; certificates of deposit shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.

i:lNo

m Yes ..................... institution name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17.1, Checking account TD Bank account ending in 9670 5 600.00
17.2. Checking account 5
17.3. Savings account $
17.4. Savings account $
17.5. Certiiicates of deposit $
17.6. Other hnancial account $
1?.7. Other financial account $
1?.8. Other nnanciai account $
17.9. Other inancial account $
18. Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

m No

El Yes institution or issuer name:

19. Non-pubiicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

m No Name of enlity: % of ownership:

n Yes. Give specific O% %

information about 0
them 0/2’ % 5
0% %

 

Oi‘i'lcia| Form 106A/B Schedule AIB: Property page 5

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Debtor 1 Steven

First Name MiddlB Name Last Name

Cavanaugh

 

Case number (irr¢i-iawn) 17'10334'BAH

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20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotr`abie instruments include personal checks. cashiers' checks. promissory notes, and money orders
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them.

mNo

|;i Yes. Give specific issuer namer
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them 3
$
$
21. Retirement or pension accounts
Exampies: interests in iRA, ER|SAl Keogh, 401 (|<), 403(b), thrift savings accountsl or other pension or proit-shan`ng plans
m No
i;l ¥es. List each
account separateiy. Type of account institution name:
401(|<) or similar plan: $
Pension pian: $
iRA; $
Retirement account $
Keogh: $
Additionai account $
Additionai account $
22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreements with landlords, prepaid rent, public utilities (e|ectric. gas. water), telecommunications
companies or others
m No
cl ‘{es .......................... institution name or individua|:
Eleciric: $
Gas: $
Heating oil: $
Security deposit on rental unit: 5
Prepaid rent $
Teiephone: $
Water: $
Rented furnitu re: $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
i:l Yes issuer name and description:
$
$

 

Ol"iicia| Form 106A/B Schedule AIB: Property

page 6

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Debtor 1 Steven

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Cavanaugh ease number (,,,MM,) 17-10334-BAH

 

Flrst Name Midd|e Name

24. interests in an education |RA, in an account in a qualified ABLE program. or under a qualified state tuition program.

LBSf Name

26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

m No
El ¥es

 

institution name and description Separately file the records of any interests.ii U.S.C. § 521(c):

 

 

 

25. Trusi:sl equitable or future interests in property (other than anything listed in line 1), and rights or powers

exercisable for your benefit

UNo

 

El Yes. Give specinc
information about them....

 

 

 

26. Patents, copyrightsl trademarks trade secrets, and other intellectual property
Exampies: lnternet domain names websites, proceeds from royalties and licensing agreements

ENo

 

i;i ¥es. Give specific
information about them....

 

 

 

27. Licenses, franchises and other general intangibles
Exampies: Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

ENo

 

El Yes. Give specinc
information about them....

 

 

 

Money or property owed to you?

28.Tax refunds owed to you

E|No

m Yes. Give specific information
about them, including whether
you already filed the returns
and the tax years

29. Family support

Exampies: Past due or lump sum aiimony, spousal support child support, maintenance, divorce settlement property settlement

ZNo

ij ¥es. Give specific information ..............

30. Other amounts someone owes you

Exampies: Unpaid wages disability insurance payments disability benents sick pay, vacation pay, workers' compensation

 

 

anticipated 2015 federal tax return joint with
non-debtor spouse

 

 

 

 

 

 

Social Security benefits unpaid loans you made to someone else

mNc

l:l ‘(es. Give specinc infonnation...............

Official Form iDBAIB

Federai:
State:

LOCa|:

Alimony:
Maintenanoe:
Support:

Divorce settlement

Property settlement

s

 

 

 

 

Schedule AIB: Property

Current value of the
portion you own?
Do not deduct secured
claims or exemptions

4,000.00

€BM£B€B€H

page 7

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centum Steven Cavanaugh ease number wmwm 17_10334_BAH

FlrSf NH|'HB Middla Name LBSf Name

 

 

31, interests in insurance policies
Exampies: Health, disability, or life insurance; health savings account (HSA); creditl homeowners or renter’s insurance

ENo

Ei Yes. Name the insurance company

_ _ _ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policyl or are currently entitled to receive
property because someone has died.

mNo

n Yes. Give specific information ..............

 

 

 

 

33. Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Exampies: Accidents, employment disputes insurance claims or rights to sue

ENO

i;l Yes. Describe each claim.

 

 

 

 

344 Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNo

i:l ¥es. Describe each claim

 

 

 

 

35.Any financial assets you did not already iist

ENO

Cl Yes. Give specific infonnation............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4.Write that number here ') 5 4»640'00

 

 

 

g Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

 

_ 37. Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
i;l Yes. Go to line 38.

Current value of the

 

 

portion you own?
Do not deduct secured claims
or exemptions
38. Accounts receivable or commissions you already earned
m No
a Yes. Describe....
' 3

 

 

 

39. Office equipment furnishings and supplies
Examples: Busiriess-related computers software, mcclems. printers copiers, fax machines rugs. telephones desks, chairs electronic devices

m No
n Yes. Describe ....... §§

 

 

 

 

Officia| Form 106AJ'B Schedule Ai'B: Property page 8

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Debtor 1 Steven Cavanaugh ease number (”kmwm 17-10334_BAH
Fi`rsl Name Midi.i|e Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

 

a No

Ei Yes. Describe....... $
41.|nventory

la No

n Yes. Describe ....... $

 

 

 

42. interests in partnerships or joint ventures

mNo

\;l ¥es. Describe.......

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43. Customer lists, mailing lists, or other compilations

 

 

 

 

 

 

 

 

 

m No
|;l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
\;l No
\;l Yes. Describe........
$
44.Any business-related property you did not already list
m No
\;i Yes. Give specific $
information
$
$
$
$
$

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

$ 0.00
for Part 5. Write that number here .................................................................................................................................................... 9 h

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest ln.
lf you own or have an interest in farmland, list it in Part ‘i.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
q No_ Go to Part 7.
n Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims z
or exemptions

47. Farm animals
Exampies: Livestocl<, poultry, farm-raised fish
a No
n Yes

 

 

 

$ 0.00

 

Ofiicial Form 106A/B Schedule AIB: Property page 9

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benton Steven Cavanaugh ease number(f,mwn] 17-10334-BAH

 

 

Filsl Name Middle Name Lasl Name

48. Crops-either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n No ,
l
El Yes. Give specific §
information ............§ 5 0-00
49. Farm and fishing equipment, implements machinery, fixtures, and tools of trade
n No
n Yes
$ 0.00
50. Farm and fishing supplies, chemicalsl and feed
n No
m Yes
$ 0.00
51.Any farm- and commercial fishing-related property you did not already list
|;l No
El Yes. Give specific
information. $ 0.00
' 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0_00
for Part 6. Write that number here ')
Describe All Property You Own or Have an lnterest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Exampies: Season tickefs, country club membership
a No
El Yes. Give specific
information $
$
54.Add the dollar value of all of your entries from Part 7. Write that number here ') $ 0'00
List the Totals of Each Part of this Form
ss.Pari 1: Total real estaie, line 2 -) s 0-00
56, Part 2: Total vehicles, line 5 $ 600'00
57. Part 3: Total personal and household items, line 15 $ 2’800‘00
58. Part 4: Total financial asse\s, line 36 $ 4'640'00
j 59. Part 5: Total business-related property, line 45 s 0-00
60. Part 6: Total farm- and fishing-related property, iine 52 $ 0'00
61. Part 7: Total other properly not llsted, line 54 + $ 0-00
62.T0tal personal perBI'ty. Add lines 56 through 61. .................... $ 8’040`00 Copy personal property total 9 + $ 8,040.00
sa. Total of all property on schedule Ale. Add line 55 + line 62 .......................................................................................... s 8-040-00

Offlcial Form 106AIB Schedule AIB: Property

 

 

page 10

 

 

 

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Fill in this information to identify your case:

oebiei 1 Steven Cavanaugh

First Name Middle Name Lusl Name

 

Debtor 2
(Spcuse. if filing) Firsf Name Midd|e Name Last Name

 

Un':ted States Bankruptcy Court forthe: District of New Hampshire

case number 17“10334'5/'\"| 7 El Check if this is an
("“"°W") amended filing

 

 

Official Form 1060
Schedule C: The Property ¥ou Claim as Exempt nine

 

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B: Property (Official Form 106AIB) as your sourcel list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2: Addiiiorial Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a lawl that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Froperty ‘{ou Claim as Exempt

 

1_ Which set of exemptions are you claiming? Check one oniy, even i'f your spouse is filing with you.

M You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
El ven ere claiming federal exemptionsl 11 u.s.c. § 522(ii)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you ciaim Specific laws that allow exemption

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
Brief -
eeseiipiion; L@_k._ s 600.00 m e 600.00 RSA 511.2, xvi
Lirie from El 100% of fair market value. up to
Schedule A/B; 1 any applicable statutory limit
Brief . _
description: household_tumltur_e_ $ 2,400.00 E 5 2,400.00 RSDA 511 .2, ll
Line from n 100% affair market value, up to
Schedule A/B: 'B_ any applicable statutory limit
B ‘ f .
deference fieCfFOH'CS $ 300.00 al e 300.00 RSA 511;2, ii
L§ne from El 100% of fair market vaiue, up to
Schedule A/B: _9_ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4101/19 and every 3 years after that for cases filed on or alter the date of adjustment.)
El No
El ¥es. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
n No
Cl ¥es

Off`icia| Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _

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Steven Case number fifriiiewiir 17'10334'BAH

F|i'sl. Name

m Additional Page

Cavanaugh

LBSl NBITIE

Debtor 1

 

 

Middla Name

Brief description of the property and line
on ScheduieA/B that lists this property

Brief
description

Line from

Schedule A/B:

Brief
description

Line from

Schedule A/B:

Brief
description

Line from

Schedule A/B.'

Brief
description

Line from

Schedule A/B:

Brief
description

Line from

Sche duie A/B.'

Brief
description

Line from

Schedule A/B:

Brief
description

Line from

Schedule A/B:

Brief
description

Line from

Schedule A/B.'

Brief
description

Line from

Schedule A/B.'

Brief
description

Line from

Schedule A/B.'

Brief
description

Line from

Schedule A/B:

Brief
description

Line from

Schedule A/B:

Ofl'lcl'al Form 106C

Current value of the
portion you own

Amount of the exemption you claim

Check only one box for each exemption _

 

\;l 100% affair market value, up to
any applicable statutory limit

 

l:l 100% of fair market value, up to
any applicable statutory limit

 

\;l 100% of fair market value, up to
any applicable statutory limit

 

Cl loo% affair market velue. up to

 

a 100% of fair market value, up to
any applicable statutory limit

 

l:l 100% of fair market value, up to
any applicable statutory limit

 

m 100% offair market value, up to

 

El 100% of fair market value. up to
any applicable statutory limit

 

l:l 100% of fair market value, up to
any applicable statutory limit

 

El foo% affair market value, up lo

 

n 100% affair market value. up to

Copy the value from
Schedule A/B
C|Oihirrg $ 100.00 M $ 100.00
1 1
_cash $ 40.00 El s 40.00
18
checking account $ 600.00 M $ 600.00
L
tax refund 5 4,000.00 M 3 4,000.00
28
_ any applicable statutory iimit
s El s
$ Cl is
$ El s
_ any applicable statutory limit
$ El s
s iii s
s El $
_ any applicable statutory limit
s El s
any applicable statutory limit
$ Ei $

 

El 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specii'lc laws that allow exemption

RSDA 511:2, |

 

RS 511 :2, XV||

 

RSA 511:2, XVlll

 

RSA 511:2, XV|||

 

 

 

 

 

 

 

 

 

Paoe _2_ of _

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Fill in this information to identify your case:

Debtor 1 Steven Cavanaugh

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) Fiisi Name Middle Name Lasl Name

 

United States Bankruptcy Court for the: District of New Hampshire

17-10334-BAH
?i?:§ol:inbe' El check iffhis is an
amended filing

 

 

 

Ol"ficia| Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. if two married peopie are tiling together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
a No. Check this box and submit this form to the court with your other schedulesl You have nothing else to report on this form.
n Yes. Fill in all of the information below.

mist All secured claims

 

 
   
 

 

 

 

 

 

 

 

 

 

 

 

`-c`al£imii c '
-Ut'l$e¢l.tf&d
for each ciaim |f more than one creditor has a particular claim, list the other creditors in Part 2. - ; non-inn
As much as possible, list the claims in alphabetical order according to the creditof‘s name. - wang .
21 Describe the property that secures the claim: $ $ $
3 credilu#s Name
Number Street
As of the date you tile, the claim is: Check ail that apply.
cl Contingent
El unliquidated
City State ZlP Code a Disputed
Who owes the debt? Check One- Nature of lien. check ali thai apply
m Debtor 1 On|ll' n An agreement you made (such as mortgage or secured
El Debtor 2 only car ioan)
|;| penton and Debtor 2 only L_..l Statutoiy lien (such as tax |ien. mechanics |ien)
n At least one of the debtors and another n JUdeEFIi lien from a lawsuit
a Other {inc|uding a right to offset)
l;l Check if this claim relates to a
community debt
Date debt was incurred Last4 digits of account number _ _ _
E| Describe the property that secures the claim: $ $ $

 

 

 

Credilor's Name

 

 

 

 

 

 

Number Street
As of the date you filel the claim is: Check all that app|y.
l;l Contingent
Cl unliquidated
City State ZlP Code n Disputed
Who owes the debt? Check One- Nature of lien. Check all that app|y.
cl Debt0r1 On|y \;l An agreement you made (such as mortgage or secured
m Debtor 2 only car ioan)
El Deblom and Debtor 2 only El Statutory lien (such as tax lien, mechanic’s |ien}
n At least one of the debtors and another m Jl-ld§mem lien from a |EWS'-lit
l:l Other (inc|uding a right to offset)
El check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _ _ _

 

 

Add the dollar value of your entries in Column A on this page. Write that number here: l$

thcial Form 1060 Schedule D: Creditors Who Have Claims Secured by Property page 1 of

Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 Desc: l\/|ain Document Page 26 of 45

Fill in this information to identify your case:

Debtom Steven Cavanaugh

Filst Name Midd|e Name Last Name

 

Debtor 2
(Spouse, if fliing) Firsl flame mdl-lia Name tasiuame

 

United States Bankruptcy Courtfor the: District Of New Hampshire

17-10334-BAH El Check if this is an
iii known amended filing

Case number

 

 

 

Officia| Form 106E/F
Schedule EIF: Creditors Who Have Unsecured Claims 12.'15

 

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secf.lred by Property. lf more space is
needed, copy the Part you needl fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

m List All of Your PRlQRlT¥ Unsecured Claims

§ 1. Do any creditors have priority unsecured claims against you?
m No. Go to Part 2_
cl Yesi

2. L.ist all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each ciaim. For
each claim iisted, identify what type of claim it is. lfa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditors name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claiml iist the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.) §
' ;_Priorlt'y -_ nonpriority f

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Priority Crediioi*s Name

" amount ' " amount -
2.1
Last4 digits of account number _ _ _ _ 5 $ $
Priority Creditors Name
When was the debt incurred? §
Number Street §
As of the date you file, the claim is: Check all that app|y. §
City State Z|P Code n Comingem
El unliquidated
Who incurred the debt? Check one. n Disputed
El Debtor1 only
Cl Debtor 2 only Type of PR|OR|TY unsecured ciaim:
g mwa and Debtor2 only El Domestic support obligations
At least one ofthe demors and another El Taxes and certain other debts you owe the government
m check 'f th's cla'm 's for a °°mm""rty debt n Claims for death or personal injury while you were
ls the claim subject to offset? ’"tox'°ated
m No n Other. Specify 7
m `i'es §
2'2 1 Lastll digits of account number _ _ _ __ $ 3 $

When was the debt incurred? g

 

 

 

Number Street
As of the date you file, the claim is: Check all thatapp|y.
m Contingent

ciiy slle ZlP code El Unliquidated

Who incurred the debt? Check one. n Disp“‘ed

Cl Debtor ‘l oniy
Cl Debtor 2 only
, n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

m Check if this claim is for a community debt

Type of PR|OR|TY unsecured claim:

n Domestic support obligations

Cl Taxes and certain other debts you owe the government
m Claims for death or personal injury while you were

 

intoxicated
ls the claim subject to offset? El Other. Specify
n No
...;' Yes

 

thcial Form 1 OBEIF Schedule EIF: Creditors Who Have Unsecured Claims page 1 of _

' - - ' ` ' : ` n Pae270f45
C%s§oe%? 10334 BAH Doc #. 15 %Le_.ghgud_EJ/FQS/U DeSc l\/|aln Docume g

Debtor 1 Case number (il-i¢nowni 17'§0334' AH

 

 

Fil’St Name Mlddid Name LSS1 Name

Your PR|OR|TY Unsecured Claims - Contlnuation Fage

 

 
  
 

i
After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. . _ ___
§ ' - '~_am_o'un_t.;. .._ amount

§:| $ $ 3

Last 4 digits cf account number _

 

 

Priority Creditors Name

When was the debt inr:urred'il

 

 

 

Number Street
As of the date you file, the claim is: Check all that app|y.
n Contingent

city stale zip code Cl unliquidated

l:l Disputed
Who incurred the debt? Check one.

El Debtor 1 only Type of PR|OR|TY unsecured claim:
n Debtor2 only

El benton and Debtor 2 only

n At least one of the debtors and another

El Domestic support obligations
El Taxes and certain other debts you owe the government

a Claims for death or personal injury while you were
intoxicated

Cl other. Specify

 

n Check if this clalm is for a community debt

 

§ ls the claim subject to offset?

n No
n Yes

 

 

Last 4 digits of account number _ _ 3 $ $

 

 

Pric>l‘ily Creditol’s Name

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that app|y.
Cl Contingent

cily slele zlP code Cl Unliquidated

n Disputed
Who incurred the debt? Check one.
l:l Debtor1 only Type of PR|ORlTY unsecured claim:
l:l Debtor 2 only
El Debtor1 and Debtor 2 only
l;\ At least one ofthe debtors and another

 

cl Domestic support obligations

n Taxes and certain other debts you owe the government

m Claims for death or personal injury while you were
intoxicated

Cl Check if this claim is for a community debt
Cl other_ specify

 

ls the claim subject to offset?

n No
n Yes

Last 4 digits of account number _ $ $ $

 

Priority Creditors Name

 

when was the debt incurred?

 

 

n Disputed

Number Street
As of the date you filel the claim is: Check all that apply.
_ n Contingent
§ city slate zlP Code l:l Un|iquidated i
’ §

Who incurred the debt? Check one.
El Debtor1 only Type of PR|OR|TY unsecured claim: §
El Debtor2 only §
a Debtor1 and Debtor 2 only

El At least one of the debtors and another

Domestic support obligations §
Taxes and certain other debts you owe the government §
Claims for death or personal injury while you were §

 

l:| UEIU

 

a Check if this claim is for a community debt intoxicated

Other. Specify
ls the claim subject to offset?
El Nn §
§i.res . ‘

 

Ofncial Form 106E/l`-“ Schedule El'F: Creditors Who Have Unsecured Claims pace of

CaSe: 17-10334-BAH DOC #Z 15

Steven

Firsl Name

Debtor 1

Midd|o Name Last Name

drill°oilctléilo~°°/ 17 DeSCgas'\e/lnauiii,ei?,, ng,,iimiemi)ssli>-ase 28 of 45

m:kt A|l of Your NONPR|OR|T¥ Unsecured Claims

 

z

3. Do any creditors have nonpriority unsecured claims against you?

|:l No. You have nothing to report in this part Subrnit this form to the court with your other schedules.

m Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the c
§ nonpriority unsecured cia'rm, list the creditor separately for each claim For each clai
§ included in Part 1. if more than one creditor holds a particular clai

claims fill out the Continuation Page of Part 2.

 

m, list the other ore

 

 

 

 

reditor who holds each ciaim. lt a creditor has more than one
m iisted, identify what type of claim it is. Do riot list claims already
ditors in Part 3.lf you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

 

 

- AT & T universal Masiercard usidigre.,ra.=rm...rr..mrrr_o_ g _9 _6 22 32150;
Nonpnority Credilofs Name 01/01__'2000 $___’__'._§_
PO Box 6500 When was the debt lncurred? _
Number Street ‘
Sioux Falls SD 57117 z
city state zip code As of the date you file, the claim is: Check all that apply. §
n Contingent
Who incurred the debt? Check one. [:| Uniiquidatcd z_
ill Debtor 1 only El Disputed
. g Debtor 2 only §
El Debtor 1 and Debtor 2 only Type of NONPR|OR|T¥ unsecured claim: §
; n At least one of the debtors and another n Student loans
a check iii this claim is for a community debt m Obligations arising cutofa separation agreement or divorce §
§ that you did not report as priority claims §
i ls the claim subject to offset? Cl Debts to pension or protit-sharing pians, and other similar debts 3
E] No ill ofner. specify
Cl Yes _
|;2 j Bank of America Visa Last 4 digits or account number _i _3 _3 _0 __12,_95_9£3_
' Nonpriorify creditors Name When was the debt incurred?
PO Box 982235 z
Number Street §
E| paso TX 79998 As of the date you file, the claim ls: Check all that apply. ;
§ City State ZlP Code n Comin.ent §
1 who incurred the doors check one n Unliquidated
§ m Debtor 1 only n D'Spu‘ed z
Cl Debtor 2 only _ §
n Debtori and Debtor 2 oniy Type of NONPR|OR|TY unsecured claim: §
Cl At least one of the debtors and another n Student loans §
_ _ _ _ _ n Obligations arising out oi a separation agreement or divorce
a Check lt this claim ls for a community debt fhafyou did not report as priority claims
is the claim subject to arisen n Debts to pension or profit-sharing plans, and other similar debts §
; ill No § oiner. specify credit card ;
Cl Yes
4.3 - .
D|SCOV€" Last4 digits of account number _2 _O_ __2 _6 8 361 34 §
Nonpriorlty Creditors Name ___-’ ' .
When was the debt incurred? O_HME 5
PO BOx 30421 '
Number Street
Salt Lake City UT 84130 . . .
City ama ZlP Code As of the date you flle, the clalm is: Check all that apply.

_ Who incurred the debt? Check one.

q benton only

§ a Debtor 2 only

z l;l Debtor 1 and Debtor 2 only

` n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

q No
El Yes.

Oft'lcia| Form iDSEl'F

l:\ Contingent
El unliquidated
El Disputed

Type of NONPR|ORlTY unsecured claim:

Cl Student loans

cl Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

l;l Debts to pension or profll-sharing plans, and other similar debts

U other. specify credit card

Schedule EJ'F: Creditors Who Have Unsecured Claims

page _ of

Debtor 1

CaSe: 17-10334-BAH DOC #: 15
Steven

 

First Name Middle Name Last Name

EAL%%al?éllO~°>/ 17 DeSC<§ai\;lnaui,§ ei>(pk,,§,i,irilemi>aoli>.eue 29 oi 45

 

Your NONPRIORl'l'¥ Unsecured Claims - Contlnuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Tcwlf_clai_tn_' §
4'4 Last 4 di its of account number 1 2 9 3
. Chase Slate 9 _ -_ - _- 5 6,321.68§
Nonpriorlty Creditors Name §
When was the debt incurred?
PO Box 1422 §
"'C“:"|:lb;rriotte S"°Et NC 28 Ae or the date you rile, the claim is: check all that apply
city Siate ZlP Code U Contingent §
\:l Unliquidated
who incurred the debt? cheek ona El Disputed
q Debtort only
Cl Debtor 2 only Type of NONPRlOR!TY unsecured claim‘l
E| Debtor1 and Debtor 2oniy m Studemi°ans §
§ a At least one °f the debtors and another El Obligations arising out of a separation agreement or divorce that
: n Check if this claim is for a community debt you did not report as priority claims
cl Debts to pension or pruitt-sharing plansl and other similar debts
ls the claim subject to offset? g Other_ Spe¢ify Credl't Gal'd §
g No i
[] Ves §
4'6 - Last4 digits of account number 1 4 2 3 s 1 497 65
Caplta| One - _ - _ _1-_'_
Nonpr`iority Creditofs Name
When was the debt incurred? 3
PO Box 30285 ;
f Number Street §
1 . As of the date ou file, the claim is: Check all that a l . §
§ salt l_al<e city uT 34130 " p""
city state zll= code Cl contingent §
` n Unliquidated §
§ Who incurred the debt? Check one. ij Disputed
3 Cl Debtor 1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtort and Debtor 2 only n Student loans §
m 1€55\°"€ Of the debtors and another a Obligations arising out of a separation agreement or divorce that §
EI Check if this claim is for a community debt you did not raped as priority claims §
n Debts to pension or profit-sharing plans, and other similar debts §
ls the claim subject to offset? El Other_ Specify 4`
§ cl No
U Yes
|4.61 y 1,646.19§
g Sears Last 4 digits of account number _9_ l § _O_ _§
Noripriority Creditors Name :
When was the debt incurred?
PO Box 78051
lt be s =
um r . trw As of the date you file, the claim is: Check all that appiy. §
Phoenlx AZ 85062
city slate zll= code l:l contingent '

Offlcial Form 106EIF

Who incurred the debt? Check one.

il Debtorl only

n Debtor 2 only

E\ Debtor1 and Debtor 2 only

n At least one of the debtors and another

EI Check ifthis claim is for a community debt

ls the claim subject to offset?

g No
n Yes

Cl unliquidated
n Disputed

Type of NONPRIORIT¥ unsecured claim:

\;l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l:l Debls to pension or profit-sharing plans, and other similar debts

U other spociiy credit card

Schedule EIF: Creditors Who Have Unsecured Claims

page _ of _

CaSe: 17-10334-BAH DOC #Z 15

Debtor 1

Steven

Fil‘S\ NBIT|€

Midd'le Name

Last Name

53&%_99¥03/17 D€S%a_l,\;l i,r,i,ei>(,;g,,g,umsmioaseaga 30 of 45

mist others to Be Notified About a Debt That You Already Llsted

 

§ 5. Use this page only if you have o
‘ example, if a collection agency i

thers to be notified about your bankruptcyl for a debt that you already listed in Parts 1 or 2. For
s trying to collect from you for a debt you owe to someone elsel list the original creditor in Parts 1 or

. 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
x additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line __ of (Check one): [] Part 1: Creditors with Priority Unsecured Claims
Number Sfre€i El Part 2'. Creditors with Nonpriority Unsecured Claims
Last4 digits of account number _ _ _ _
City _____ State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line _ of (Check one): l;.\ Part 1: Creditors with Priority Unsecured Claims
Number Street E] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
City State Z|F' Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line _ of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number S“eei i:l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
h City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number S"BE‘ l:l Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): |:l Part 1: Creditors with Priority Unsecured Claims
Number S‘re"f Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
City Si_a_la §~LP Code
0n which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C\ Part 1: Creditors with Priority Unsecured Claims
Number 3‘"3°‘ Cl Part 21 Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
city state zlP code
Name On which entry in Part1 or Part 2 did you list the original creditor?
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
Number Street . . . .
n Part 2: Creditors with Nonpriority Unsecured
Claims
Sta\e zlp Code Last4 digits of account number _ _ _ _

City

 

 

Ofl‘icial Form 106ElF

Schedule EIF: Creditors Who Have Unsecured Claims

page _ of

Debtor 1

mmi the Amounts for Each Type of Unsecured Claim

 

Firsl Name Midd|e Name Last Name

C%§§\Z,e]n?-lOSSA,-BAH DOC #Z 15 %LRI%Z[]Q[JASQS/l? DeSCZ

l\/lain Docum%nto:i§>£§§|_§l of 45

Case numbernrknawn;

 

 

` 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

5 Total claims
` from Part1

z Total claims
' from Part 2

6a.

6c.

Bd.

6e.

6h.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through Gd.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit~sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

Eij_ Total. Add lines 6fthrough 6i.

6a

Bb.

6c.

Sd.

6a

Sf.

Sg.

6h.

6i.

611

 

 

 

 

 

 

 

 

Total claim
$ 0.0D
$ 0.00
5 0.00
+5 0.00
$ 0.00
Total claim
s 0.00
$ 0.00
5 0.00
+ $ 52,108.06
$ 52,108.06

 

 

 

Ofi'lcial Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

page

of

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 DeSC: l\/lain Document Page 32 of 45

Fill in this information to identify your case:

Debior Steven Cavanaugh

First Name Middle Name Last Name

 

Debtor 2
(Spouse |f filing) First Name Middle Name Last Name

 

United Staies Bankruptcy Couriforihe: District of New Hampshire

17-10334-
(Iii`i:’ne$imber El check if this is an

amended filing

 

 

 

Of'i"icia| Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12;15

 

 

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information if more space is needed, copy the additional page, till it out, number the entriesl and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
m No. Check this box and tile this form with the court with your other schedules ¥ou have nothing else to report on this form.
EI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Officiai Form 106NB).

2. List separately each person or company with whom you have the contractor lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

N umber Street

 

§ City Siate ZlP Code

-,....t.m\ u-.-u ,…,`. ..w … ….,.`.»..».h..~mi ,.,.-. ..

12.2

 

Name

 

Number Street

 

City 44 _ Staie ZlP Code

 

Name

 

Number Street

 

..C.iiy _ Siaie zip code

 

 

Name

 

§ N umber Street

 

_ C'$.¥… _ Siaie zn= code

 

Name

 

N umber Street

 

City Slaie Z| P Code

Ofiicial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of ___

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 DeSC: l\/lain Document Page 33 of 45

Fill in this information to identify your case:

Debicr 1 Steven Cavanaugh

Fils\ Name Middle Name Last Name

Debtor 2
[SpDuse, if flllng) Fl`rst Name Mldola Name Last Name

 

United States Bankruptcy Court for the; District of New Hampshire

Case number 17-10334-BAH

iii known L:l Check if this is an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possib|e. if two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a Codebtor_)
m No
m ¥es

§ 2. Within the last 8 years, have you lived in a community property state or territory? (Communi'ty property states and territories include
§ Arizona, Ca|ifornia, ldaho, Louisiana, Nevada. New Mexico, Puerto Rico, Texas, Washington, and \Msconsin.)

El Nc. cc ic line 3.
\;l Ves. Did your spouse. former spouse, or legal equivalent live with you at the time?

DNo

CI ¥es. in which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse former spouse, or legal equivalent

 

Number Street

 

City Siaie ZlP Code

; 3. ln Co|umn 1, list all of your codehtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
_ shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

§ Schedule D (Official Form 106D), Schedule E/F (Officia| Form 106E!F), or Schedule G (Officia| Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Co|umn 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1.' Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that appiy:
3.1
Name El schedule D, line
El Schedule ErF, line
N“'"bE' S"EB‘ El schedule e, line
..C.iiil ................ _ ___ state ziP code
3.2
Name Cl Schedule D, line
El Schedule E/F, line
N“m°e' S"e°‘ El schedule G, line
City 7 __ ___St_aie __ ZlP Code
3.3
Name l:l Schedule D, line
|;l Schedule EIF, line
”“m°i” S"e" El schedule G, line
.Gii>' , . . Siafe i. Z|F‘ Code …NM.

 

 

 

 

Of'ficial Form 106H Schedule H: Your Codebtors page 1 of _

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 DeSC: l\/lain Document Page 34 of 45

Fill in this information to identify your case:

Debtor 1 Steven A Cavanaugh

Fil’s! Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) F‘nsl Name Middle Name Last Name

 

United Siates Bankruptcy Court for ihe: Distrlcf Of New Hampshil'e

case number 17~10334-BAH check ifihie is:

(if known)
El An amended filing

|;l A supplement showing postpetition chapter 13
income as of the following date:

OfflCial Form 106| m
Schedule l: Your income one

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. |f you are married and not filing jointiy, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment

 

 

 

 

 

inf¢rmat;on_ Debtor 1 Debtor 2 or non-filing spouse
|f you have more than one job,

attach a separate page with

information about additional Employment status m Employed Cl Employed

employers El Not employed g Not employed

include part-time, seasonal, or
self-employed work.

Occ ation laborer
Occupation may include student up

or homemaker, if it applies.
Employer’$ name RlOl'dEl"l CO|"lStl'UCtiOl"l

Employer’s address 24 Atherton Hili Road

 

 

 

 

Number Street Number Street

Tilton NH 03276

City State ZlP Code City State ZlP Code
How long employed there? 2 years 2 fears

m Give Dotails About Monthly income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the spaoe. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more spaoe, attach a separate sheet to this fon'n.

For Debtor1 For Debtor 2 or
non-filing spouse

 

§ 2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). |f not paid monthly, calculate what the monthly wage would be. 2. $ 1 553_80 $
3. Estimate and list monthly overtime pay. 3_ + 3 0.00 + $
` 4. Calculate gross income. Add line 2 + line 3, 4_ $ 1,558.80 $

 

 

 

 

 

Official Form 106| Schedule l: Your income page 1

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/|ain Document Page 35 of 45

 

 

name 1 Steven A Cavanaugh ease number i,,m,,, 17-10334-BAH
First Name M`ddla Name Last Name
For Debtor ‘i For Debtor 2 or
non-titing spou§g
Copy line 4 here ............................................................................................... ') 4. $_LBLB_O $
’ 5_ List all payroll deductions:
5a Tax, Medicare, and Social Security deductions 5a. $ 259.80 $
5b. Mandatory contributions for retirement plans 5h. $ 0.0Q $
50. Voluntary contributions for retirement plans 50. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0-00 $
5a insurance 5e, $ 0.00 $
5f. Domestic support obligations 5f_ $ 0.0U $
59. Union dues 5g. 5 0'00 $
5h. Other deductions Specify; 5h. + $ 0.00 + $
e. Add the payroll deductions Add lines 53 + 5b + 5a + 5a + se +5r + 59 + 5h_ s $ 259.80 $
_ 7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1299-00 $
8, List all other income regularly received:
Ba. Net income from rental property and from operating a business
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses and the total $ 0 00 5 1 400 00
monthly net income. Ba. ` ' `
Sb. interest and dividends Bb. $ 0.00 $
Bc. Famiiy support payments that you, a non-filing spouse. or a dependent
regularly receive
include alimonyl spousal support, child supportl maintenance, divorce $ 0 00 $
settlementl and property settlement Bc. `
8d. Unemployment compensation Bd. $ 0-00 $
Be. Social Security Be. $ ii gm $ j 335 gm
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you reoeive, such as food stamps (benetits under the Supplemerltal
Nutrition Assistanoe Program) or housing subsidies
Specify: Sf_ $ 0.0U $
Bg. Pension or retirement income Bg_ $ 0.00 3
8h. Other monthly income. Specify: 8h. + $ 0.00 + $
9, Add all other income, Add lines 8a + Bb + Bc + Bd + Be + Bf +89 + Bh. 9. $ 0.00 ` $
z 10. Calculate monthly income. Add line 7 + line 9. .i 299 0 2 _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse_ 10. $-'_'0_ + $_MO- _ $M
‘ 11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents your roommatesl and other
friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
specify 11. + $
§ 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabiliti'es and Certal'n Stati`sti`cai' lnfom'iation, if it applies 12. $MO_
Combined

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ 13. Do you expect an increase or decrease within the year after you tile this form?

\;\ Yes. Explain:

Ofticial Form 1051

No.

 

 

 

 

 

monthly income

 

 

 

Schedule |: \'our income

 

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/|ain Document Page 36 of 45

Fill in this information to identify your case:

Debt 1 Steven Cavanaugh . . . _
or FirslName Middle Name LasiNarrie Check If this lS.

 

Debtor 2
lSpOuSS, if filing) Fl`rsi Name Middle Name Last Name

 

El An amended filing

El A supplement showing postpetition chapter 13
expenses as of the following date:

Uniteci States Bankruptcy Court for the: District of

ease number 17'10334'BAH

MM l DD»' YYYY
iirknown)

 

 

 

Official Form 106J
Schedule J: Your Expenses ms
Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach another sheet to this form. On the top of any additional pages write your name and case number
(if known). Answer every question.

moescribe Your Household

1. is this a joint case?

 

w No. Go to line 2.
n Yes. Does Debtor 2 live in a separate househo|d?

l;l No
Cl Yes. Debtor 2 must file Oft'lcial Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? q No _
Dependent’s relationship to Dependent’s Does dependent live
DO not list Debtor 1 and \:l Yes. Fill out this information for Debtor '| °" Debtor2 age Wiih ii'°ll'?
Debtor 2. each dependent .......................... m
Do not state the dependents' i;| N°
names. \'es
El No
Cl Yes
n No
El Yes
n No
n Yes
Cl No
\;l Yes
3. Do your expenses include n NO

expenses of people other than ij
,W¥Purse" 309 il°u" df-'Pe"de"ts.?. . .¥es_ _~ _, .. . t

mfstimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule i: Your income (Ofticia| Form 106|.) Y°u" expenses
…

4. The rental or horne ownership expenses for your residence. include first mortgage payments and $ 700 00

any rent for the ground or lot. 4.

lf not included in line 4:

 

4a. Real estate taxes 4a. $
4b. Property, homeownersl or renter's insurance 4b. $
4c Home maintenance, repairl and upkeep expenses 4c_ $
4d. Homeowner’s association or condominium dues 4d. $

__

thcial Form 106J Schedule J: Your Expenses page 1

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/|ain Document

 

senior 1 Steven Cavanaugh

FirsiName Midl‘.l|e Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Uti|ities:

10.
11.

12.

17.

18.

19.

20.

Offlcia| Form 106J

6a E|ectricityl heat, natural gas
sb. Water, sewer, garbage collection
ec. Te|ephone, cell phone, lnternet, satellite, and cable services

se other Speclry: trash pickup

Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Persona| care products and services
Medical and dental expenses

Transportation. include gas maintenance, bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers magazines and books

Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance
15b. Health insurance
15c. Vehicle insurance

15d, Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17a Other. Specify:

 

17d. Other. Specify:

 

Page 37 of 45

Case number emma 17'10334'BAH

Ga.
SlJ.
6c.
Ed.

12.
13.

14.

15a.
15b.
15c.

15d.

16.

1?a.
17b.
17t‘..

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Scheduie i, Your income (Of'ficial Form 106|).

Other payments you make to support others who do not live with you.
Specify:

 

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income

20a Mortgages on other property

20b. Real estate taxes

20<:. Property, homeownersl or renter‘s insurance
20d. |Vlaintenanoe. repair, and upkeep expenses

20a Homeownei“s association or condominium dues

Schedule J: Your Expenses

20a.
20b.
20c.
20d.

20€.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your expenses
$
$ 90.00
$ 0.00
$ 100.00
3 60.00
$ 500.00
$ 0.00
$ 40.00
5 50.00
$ 20.00
$ 500.00
200.00
20.00
5 0.00
3 0.00
$ 50.00
$ 0.00

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H

ll

page 2

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/|ain Document

Page 38 of 45

Debtor 1 Steven Cavanaugh ease number ii,kmri 17-10334-BAH

Firsl Name Midd|e Name Last Name

21. Other. Specify:

 

22. Ca|cuiate your monthly expenses
22a Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Oft“icial Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses

23. Ca|cuiate your monthly net income.

23a. Copy line 12 (your combined montth inocme) from Schedule i.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this fon'n?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

El No.

21.

22a.

22b.

220.

233_

23b.

23c.

 

 

 

 

 

 

+$ 0.00
$ 3,880.00
3 0.00
$ 3,880.00

$ 4,034.00

_ 5 3,880.00

3 154.00

 

 

 

m Y€S- Explain here:

 

Ofiicia| Form 106J Schedule J: ‘(our Expenses

page 3

 

Case: 17-10334-BAH Doc #: 15 Filed: 04/03/17 Desc: l\/|ain Document Page 39 0145

Fill in this information to identify your case:

Check one box only as directed in this form and in

Form 122A-1Supp:

 

 

 

 

nebiori Steven Cavanaugh
Firsl Name Middle Name Last Name . _
g 1. There ls no presumption of abuse.
Debtor 2
iSPOvSB- ffll""§l F`rr==' Name Mi¢dlr- Name wl Name m 2. The calculation to determine if a presumption of
_ _ v abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Dlstnct of New Hampshlre Means Test Caircuia{,ron (Official Form 122A_2)_
ease number 17-10334-BAH El 3. The Means Test does not apply now because of
tlf known) qualified military service but it could apply later.

 

 

El Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly income 12115

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemptr'on from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

 

 

m Ca|cuiate Your Current Monthly income

1. What is your marital and filing status? Check one on|y.
El Not married. Fill out Column A` lines 2-11.
l;l Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

Ei Married and your spouse is NOT filing with you. You and your spouse are:
a Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

m Living separately or are legally separated Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Nleans Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources derived during the 6 fuit months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. if the amount of your monthly income varied during the 6 months add the income for all 6 months and divide the total by 6.
Fill in the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. |f you have nothing to report for any line. write $0 in the spaoe.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages salary, tips, bonuses overtime, and commissions 462 0
(before all payroll deductions). $_1.._-5 $

3. Alimony and maintenance payments Do not include payments from a spouse if
Column B is filled in. $__ $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents including child support. include regular contributions
from an unmarried partner, members of your household, your dependents parents
and roommates. include regular contributions from a spouse only if Column B is not

 

 

filled in. Do not include payments you listed on line 3. $__ $
5. Net income from operating a business profession, Debtor 1 Debtor 2

or farm

Gross receipts (before all deductions) $_ $___

Ordinary and necessary operating expenses - $ - $

Net monthly income from a business profession, or farm $ $ ::r[;y_) $ 5
6. Net income from rental and other real property Debtor 1 Delatc:{é

Gross receipts (before all deductions) $__ $_-_£H

Ordinary and necessary operating expenses - $ - 200.(_.'§

Net monthly income from rental or other real property $ $ 1,20[!§::£¥_) $ $M
7. lnterest, dividends, and royalties $ $

 

 

Oflicia| Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 1

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Debtor 1 Steven Cavanauqh ease number nunn 17-10334-BAH
Fir‘_ii Name Midtile Name l_a.Si Name
Column A Column B
Debtor 1 Debtor 2 or

non.flling spouse
8. Unemploymentcompensation $ 1,462.50 $ 1,200.00

Do not enter the amount if you contend that the amount received was a benefit
under the Sociai Security Act. lnstead. list it here:
Foryou $

Foryourspouse................................................................_. 5

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Sociai Security Act. $ $

10. income from all other sources not listed above. Specify the source and amountl
Do not include any benefits received under the Sociai Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

 

 

 

$
Total amounts from separate pages if any. + $ + 5
11. Calculate your total current monthly income. Add lines 2 through 10 for each + =
column. Then add the total for Column Ato the total for Column B. 5 1,462.50 $ 1,200.00 $ 2,662.50

 

 

 

 

 

 

 

Total current
monthly income

m Determine \ilihether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

12a Copyyourtotal current monthly incomefrom line11. .................................................................................. Copyline11hers-) f $ 2662.50 g

Multiply by 12 (the number of months in a year). X 12

12a The result is your annual income for this part of the form. 12b.

13. Ca|cuiate the median family income that applies to you. Follow these steps:

 

 

 

 

 

 

 

 

Fill in the state in which you |ive. 2
Fill in the number of people in your household NH
Fill in the median family income for your state and size of household 13v $ 74.426-00

 

 

 

To find a list of applicable median income amounts go on|ine using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

14a i Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse
Go to Part 3.

14b. n Line 12b is more than line 13. On the top of page 1l check box 2. The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

By signing here, l declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

 

 

x fsi Steven Cavanaugh x
Signature of Debtor 1 Signature of Debtor 2
mate 03/15/2017 Daie
MMlDD iYYY‘l' MMIDD iYYY¥

if you checked line 14a, do NOT fill out or file Form 122A-2.
if you checked line t4b, fill out Form 122A-2 and file it with this form.

 

 

Ofiicial Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/lain Document Page 41 of 45

Fill in this information to identify your case:

 

 

 

Debtor 1 Steven Cavanaugh
Firsl Name Midd|e Name Last Name

Debtor 2

(Spouse, if filing) Firsi Name Mldcla Name Last Name

United States Bankruptcy Court for the: District of New Hampshire

case number 17-10334-BAH |;l Check if this is an
"’ “"°""“ amended filing

 

Officiai Form 1068um
Summary of Your Assets and Liabilities and Certain Statistica| information 12i15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize ¥our Assets

 

‘r’our assets

. Va|ue of what you own

` 1. schedule A/a_- Properiy (oinciai Form ioeA/B) 0 00
1a Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ _'

1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 8,040.00

 

1c. Copy line 63, Total of all property on Schedule AfB .........................................................................................................

m Summarize ‘{our Liabilities

5 3,040.00

 

 

 

Your liabilities
Amount you owe

g 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)

' 2a Copy the total you listed in Column A, Amount of ciaim, at the bottom of the last page cf Part 1 of Schedule D 5 __M

3. Schedule E/F.' Creditors Who Have Unsecured Claims (Official Form 106EIF) 0 00
` 3a Copy the total claims from Part 1 (priority unsecured claims) from line 69 of Schedule E/F ............................................ $ __`

3b. Copy the total claims from Part 2 (ncnpriority unsecured claims) from line 61 of Schedule E/F ....................................... + $ 52’108_06

 

 

 

 

 

Your total liabilities s 52»108-05
Summarize Your income and Expenses
4, Schedule i: Your income (thcia| Form 106|) 4 034 00
' Copy your combined monthly income from line 12 of Schedule i .......................................................................................... $ _’_'
5. Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ 3'880'00

 

 

 

thcial Form 1068um Surnmary of Your Assets and Liabilities and Certain Statisticai information page 1 of 2

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/lain Document Page 42 of 45

oebier 1 Steven Cavanaugh Case number wman 17_10334_BAH

 

 

Fiist Name Middle Name Last Name

mAnswer These Questions for Administrative and Statistical Reoords

 

§ s. Are you filing for bankruptcy under Chapters 7, 11, or13?

§ 0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

w Yes

 

n 7. What kind of debt do you have?

w Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personall
famiiy, or household purpose." 11 U.S.C. § 101(8). Fill out lines B»Qg for statistical purposes 28 U.S.C. § 159.

cl Your debts are not primarily consumer debts. You have nothing tc report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

, 8. From the Statement of your Current Monthly income: Copy your total current monthly income from Ofticial
Form 122A-1 Line 11; OR, Form 1223 Line 11; OR, Form 1220-1 Line 14_ 5 2,662.50

 

 

 

5 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

Ba. Domestic support obligations (Copy line 6a.) $_M
9b. Taxes and certain other debts you owe the government (Copy iine 6b.) $__M
90. Claims for death or personal injury white you were intoxicated. (Copy line Bc.) $ 0'00
9d. Student loans. (Copy line Gf.) $___.A
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_OO

priority claims. (Copy line 6g_) _'__
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6b.) + $ 0.0D
sg. Total. Add iines 9a through sr_ $ 0.00

 

 

 

thcia| Form 106Sum Summary of Your Assel:s and Liabilities and Certain Statistica| lnfonnation page 2 of 2

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/lain Document Page 43 of 45

Fill in this information to identify your case:

oebieri Steven Cavanaugh

Flrst Name Middla Name Last Name

Debtor 2
(Spouse, if filing) Flisi Name Midcla Name Last Name

 

United States Bankruptcy Court for the: Disfrict Of New Har'npshire

Case number 17-10'§'%4-RAH

(if known)

 

El Check if this is an

 

amended filing

Officia| Form 106Dec
Dec|aration About an individual Debtor’s Schedules erie

if two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy scheduies or amended schedules i\ilaking a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy fon'ns?

E|No

n Yes. Name of person .Attach Bankruptcy Petifion Preparer's Notice, Deciarati'on, and

Signature (Ofticia| Form 1 19).

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

x lsi Steven Cavanaugh x
Signature of Debtor 1 Signature of Debtor 2
m 03/15/2017 me
MMi 00 i YYYY iviii.ii nor wYY

 

 

Official Form 1OBDec Declaration About an individual Debtor’s Schedules

Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: l\/lain Document Page 44 of 45

United States Bankruptcy Court
District of New Hampshire

In re Steven Cavanaugh Case No.

 

chtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

i. Pursuant to l i U.S.C. § 329(a) and Bankruptcy Rule 2016(b), l certify that I am the attorney for the above-named debtor and that compensation
paid to me within one year before the filing of the petition in bankruptcy, or agreed to bc paid to me, for services rendered or to be rendered on
behalf of the dcbtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal Services, I have agreed to accept __ $ 1l000.00

 

Prlor to the filing of this statement l have received $

 

1,000.00
Balance Due $ 0.00

 

2. $ 0.00 ofthc filing fee has been paid.
3. The Sourcc ofthe compensation paid to me was:
l Debtor l:l Other (specify):

4. The source of compensation to be paid to me is:

l Debtor l:l Other (Specii`y):

5. l l have riot agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law tirm.

l:l l have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement together with a list of the names of the people sharing in the compensation is attached

6. in return for the above-disclosed fee, l have agreed to render legal service for all aspects ofthc bankruptcy case, including:

Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedulcs, statement of affairs and plan which may be rcquircd;

chrcsentation ot` thc debtor at the meeting of creditors and continuation hearing, and any adjourned hearings thereof;
Reprcscntation of the debtor in adversary proceedings and other contested bankruptcy matters;

[Other provisions as necdcd]

.“`FLPF"P’

'i'. By agreement with the debtor(s), thc above-disclosed fee does not include the following service:

 

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding

Dated: March 15, 2017 lsi Kevin Chisholm, Esquire BNH
Kevin Chisholm, Esquire BNH 04799
Kevin Chishoim
195 E|m Street
Manchester, NH 03101
603-369~8686
attychisho|m@gmai|.com

 

 

 

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Case: 17-10334-BAH DOC #: 15 Filed: 04/03/17 Desc: |\/|ain Document Page 45 of 45

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW I-IAMPSHIRE
In re:

Steven Cavanaugh,

Bk. No. 17_-10334-BAH
Debtor Chapter’/‘

VERIFICATION OF CREDITOR MAILING LIST

The above named debtor hereby certifies under penalty of perjury that the attached master mailing list of

creditors, consisting of One page is complete, correct and consistent with the debtor’s schedules pursuant to LBRS
and assumes all responsibility for errors and omissions

Date: 03/15/2017 /s/ Steven Cavanaugh
Debtor Signature
Steven Cavanaugh
12 Courtland Avenue
Litchfield, NH 03052

LBF 1007-2 (Eff`. ll/l/l6)

